Case: 1:17-md-02804-DAP Doc #: 1471-2 Filed: 03/25/19 1 of 5. PageID #: 42470




                  EXHIBIT B
         Case: 1:17-md-02804-DAP Doc #: 1471-2 Filed: 03/25/19 2 of 5. PageID #: 42471
                                                                                                              1 (Pages 1 to 4)
                                                          Page 1                                                            Page 3
              IN THE UNITED STATES DISTRICT COURT                   1   APPEARANCES (continued):
                                                                    2   ON BEHALF OF THE DEFENDANT CARDINAL HEALTH, INC.:
                 NORTHERN DISTRICT OF OHIO                          3     Sara C. Schiavone, Esq.
                    EASTERN DIVISION                                      Porter, Wright, Morris & Arthur, LLP
                        ---                                         4     41 South High Street, Suites 2800-3200
                                                                          Columbus, Ohio 43215-6194
         In Re National         :                                   5     (614) 227-1994
         Prescription Opiate :                                            Fax: (614) 227-2100
         Litigation           :                                     6     sschiavone@porterwright.com
                                                                    7   ON BEHALF OF THE DEFENDANT RITE AID CORPORATION:
                          : MDL No. 2804                            8     Scott T. Schutte, Esq.
                          :                                               Morgan, Lewis & Bockius LLP
         This document relates : Case No. 17-md-2804                9     77 West Wacker Drive
                                                                          Chicago, Illinois 60601-5094
         to:                :                                      10     (312) 324-1773
                          : Judge Dan Aaron                               Fax: (312) 324-1001
         The County of Summit, : Polster                           11     sschutte@morganlweis.com
                                                                   12   ON BEHALF OF THE DEFENDANT INSYS THERAPEUTICS,
         Ohio, et al., v. Purdue :                                      INC.:
         Pharma L.P., et al. :                                     13
         Case No. 1:18-OP-45090 :                                        Heidi A. Nadel, Esq.
                                                                   14    Holland & Knight LLP
                                                                         111 S.W. Fifth Avenue
               Transcript of the video deposition of               15    2300 U.S.Bankcorp Tower
                                                                         Portland, Oregon 97204
         Julie Barnes, a witness herein, called by the             16    (503) 517-2951
         Track One Defendants for examination under the                  Fax: (503) 241-8014
         applicable rules of Federal Civil Court                   17    heidi.nadel@hklaw.com
                                                                   18   ON BEHALF OF THE DEFENDANT AMERISOURCEBERGEN DRUG
         Procedure, taken before me, Linda D. Riffle,                   CORPORATION:
         Registered Diplomate Reporter, Certified Realtime         19
         Reporter, Certified Realtime Captioner, and                     Eric L. Alexander, Esq.
                                                                   20    Lindsay A. DeFrancesco, Esq.
         Notary Public in and for the State of Ohio,                     Reed Smith LLP
         pursuant to notice and agreement, at the Akron            21    1301 K Street, Suite 1000 - East Tower
         Bar Association, 57 South Broadway Street, Akron,               Washington, D.C. 20005
                                                                   22    (202) 414-9403
         Ohio, on Monday, December 3, 2018, beginning at                 Fax: (202) 414-9299
         8:59 a.m. and concluding on the same day.                 23    ealexander@reedsmith.com
                                                                         (202) 414-9286
                                                                   24    ldefrancesco@reedsmith.com
                                                                   25


                                                          Page 2                                                            Page 4
  1   APPEARANCES:                                                  1   APPEARANCES (continued):
  2   ON BEHALF OF THE PLAINTIFFS SUMMIT COUNTY, THE
      CITY OF AKRON, AND THE WITNESS:                               2   ON BEHALF OF THE DEFENDANTS ENDO HEALTH
  3                                                                     SOLUTIONS, INC., ENDO PHARMACEUTICALS, PAR
       Jodi Westbrook Flowers, Esq.
  4    Annie E. Kouba, Esq.
                                                                    3   PHARMACEUTICALS, AND PAR PHARMACEUTICAL COMPANIES
       Anne McGinness Kearse, Esq.                                  4     Heather A. Hosmer, Esq. (via telephone)
  5    Motley Rice LLC                                                    Arnold & Porter Kaye Scholer
       28 Bridgeside Boulevard
  6    Mt. Pleasant, South Carolina 29464                           5     601 Massaschusetts Avenue
       (843) 216-9163                                                     Washington, D.C. 20001-3743
  7    Fax: (843) 216-9027
       jflowers@motleyrice.com                                      6     (202) 942-6208
  8    (843) 216-9225                                                     Fax: (202) 942-5999
       akouba@motleyrice.com                                        7     heather.hosmer@arnoldporter.com
  9    (843) 216-9140
       akearse@motleyrice.com                                       8   ON BEHALF OF THE DEFENDANT McKESSON CORPORATION:
 10                                                                 9     Michelle L. Yocum, Esq. (via telephone)
      ON BEHALF OF THE PLAINTIFF SUMMIT COUNTY CHILDREN
 11   SERVICES:                                                           Covington & Burling LLP
 12     Katerina C. Papas, Esq.                                    10     One CityCenter
        Deputy Executive Director and General Counsel
 13     Jonathon D. Hart, Esq.                                            850 Tenth Street, NW
        Legal Counsel/Risk Management Officer                      11     Washington, D.C. 20001-4956
 14     Summit County Children Services                                   (202) 662-5103
        246 South Arlington Street
 15     Akron, Ohio 44306-1354                                     12     myocum@cov.com
        (330) 379-2083                                             13   ALSO PRESENT:
 16     Fax: (330) 379-1897
        kpapas@summitkids.org                                      14      Shaun Crum, Videographer
 17     (330) 379-2041                                             15                ---
        hartj@summitkids.org
 18                                                                16
      ON BEHALF OF THE DEFENDANT WALMART:                          17
 19                                                                18
       Christopher Lomax, Esq.
 20    Jones Day                                                   19
       600 Brickell Avenue                                         20
 21    Brickell World Plaza
       Suite 3300                                                  21
 22    Miami, Florida 33131                                        22
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 23    Fax: (305) 714-9799
                                                                   23
       clomax@jonesday.com                                         24
 24                                                                25
 25




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      Case: 1:17-md-02804-DAP Doc #: 1471-2 Filed: 03/25/19 3 of 5. PageID #: 42472
                                                                            27 (Pages 105 to 108)
                                            Page 105                                                 Page 107
  1   back or rephrased, I can do that. Do you want to      1   other types of illegal opiate use?
  2   have the question read back?                          2          MS. FLOWERS: Objection. Asked and
  3      A. Sure.                                           3   answered.
  4         MR. ALEXANDER: Okay. Can you read back          4          THE WITNESS: No. I -- I can't do that
  5   the last question before the inquiry?                 5   today.
  6         (Question read back as requested.)              6   BY MR. ALEXANDER:
  7         MS. FLOWERS: Object to the form.                7      Q. Okay. And you don't have any data
  8   Misstates the witness's testimony; and asked and      8   analysis undergoing -- or ongoing right now that
  9   answered.                                             9   would allow you to provide that information,
 10         THE WITNESS: I don't understand the            10   correct?
 11   question.                                            11          MS. FLOWERS: Same objection.
 12   BY MR. ALEXANDER:                                    12          THE WITNESS: I don't have a specific
 13      Q. So if the issue was talking about,             13   data analysis going on. There -- there are more
 14   essentially, the financial impact on Summit          14   accurate ways of capturing drug type now that we
 15   County through Children's Services because of the    15   may be able to pull some different types of data
 16   use of prescription opioids -- you with me so        16   that's more recent, but that was a recent change
 17   far?                                                 17   to the state system.
 18      A. Uh-huh.                                        18   BY MR. ALEXANDER:
 19      Q. Okay. That all you can say is that any         19      Q. Over, essentially, the last two years,
 20   testimony that you can provide on the subject of     20   SACWIS provides a little bit more --
 21   financial impact would not differentiate between     21      A. Yes. Correct.
 22   the impact of heroin and other completely            22      Q. -- ability to identify a preferred drug
 23   illegally obtained drugs versus illegally            23   or drug of choice, correct?
 24   obtained prescription drugs versus legally           24      A. Correct. Uh-huh.
 25   obtained prescription drugs, correct?                25      Q. And which means that looking before

                                            Page 106                                                 Page 108
  1          MS. FLOWERS: Objection. Lack of                1   2016, there's more uncertainty about what the
  2    foundation; asked and answered.                      2   particular drug would be, whether it be a
  3          THE WITNESS: The information that I            3   prescription opioid, an illegal opiate,
  4    have would be all of those categories together.      4   marijuana, meth, alcohol, whatever, correct?
  5    BY MR. ALEXANDER:                                    5          MS. FLOWERS: Object to the form. Lack
  6       Q. And you're not aware of anything that's        6   of foundation.
  7    differentiated between them, correct?                7          THE WITNESS: Correct.
  8          MS. FLOWERS: Objection.                        8   BY MR. ALEXANDER:
  9          THE WITNESS: Well, we can differentiate        9      Q. Okay. And so I'm going to go down,
 10    between them in some places in the case. So         10   like, another more narrow thing than what we were
 11    there- -- therein lies the problem. So it           11   just talking about.
 12    depends on if it was put in as a drug type, which   12      A. Okay.
 13    there were not places, really, to put that until    13      Q. So bear with me.
 14    more recently, or where it was put in in the case   14         You mentioned at the very start some of
 15    and if it identified a drug type.                   15   the prescription drugs you're aware of that were
 16    BY MR. ALEXANDER:                                   16   made by different manufacturers.
 17       Q. All right.                                    17      A. Uh-huh.
 18       A. Yes.                                          18      Q. Do you remember you named some?
 19       Q. Keeping in mind those limitations on          19      A. Uh-huh. Yes.
 20    data and what you've said --                        20      Q. You couldn't, then, do something where
 21       A. Yes.                                          21   you'd say, "Here's the -- the financial impact on
 22       Q. -- sitting here today, can you provide        22   Summit County Children Services from specific
 23    testimony as to the financial impact on Summit      23   drugs or groups of drugs that were distributed
 24    County Children's Services of prescription          24   and obtained in a legal fashion," correct?
 25    opioids obtained legally as opposed to all the      25          MS. FLOWERS: Form. Asked and answered.


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      Case: 1:17-md-02804-DAP Doc #: 1471-2 Filed: 03/25/19 4 of 5. PageID #: 42473
                                                                            30 (Pages 117 to 120)
                                            Page 117                                                 Page 119
  1    prior years.                                         1      A. I think it showed that it was about a
  2       Q. Okay. As we said, a comparison to years        2   quarter to a third around 2012, but it showed
  3    before 2016 runs into some of the data               3   around 2015 and '16 that it was closer to
  4    analysis -- or -- or data input issues from          4   50 percent, so . . .
  5    SACWIS about drug of choice, correct?                5      Q. And that there was -- if you look at the
  6       A. Well, I mean, again, it depends on how         6   way SACWIS data gets entered -- because they
  7    you look at it. So if you looked at the same         7   capture it sequentially as you add data, correct?
  8    field in 2012 that you're looking at in 2016, you    8   Like, you can look at iterations of each file.
  9    would be getting consistent data there.              9      A. I don't know what you mean, iterations
 10       Q. Assuming the input practices were the         10   of a child, but there are --
 11    same between the years?                             11      Q. Each file.
 12       A. Yes.                                          12      A. -- it is captured sequentially, yes.
 13       Q. And we know they weren't because there        13      Q. Okay. So that we know that as a result
 14    was a caseworker blitz to try to address the        14   of the caseworker blitz in 2016, that these
 15    inconsistencies and input practices within all      15   percentages climbed significantly as data got
 16    the fields in SACWIS that related to drug use,      16   entered, including about 2015, correct?
 17    correct?                                            17      A. I think the caseworker blitz had an
 18           MS. FLOWERS: Object to the form. Lack        18   impact on our staff's knowledge that they needed
 19    of foundation.                                      19   to do a better job of capturing data around
 20           THE WITNESS: The caseworker blitz was        20   substance use and type of substance. So I think
 21    very specific to asking the workers to put a        21   it had an impact in terms of helping us to be
 22    type -- drug type into a specific field so that     22   more accurate or put it into certain places.
 23    we could try to pull some data out of that field.   23         I don't think the caseworker blitz
 24    So that was one particular field. So when I say,    24   specifically really -- I don't know that we use
 25    you know, my knowledge about substance abuse        25   that data specifically for any, you know,

                                            Page 118                                                 Page 120
  1    previously to substance abuse currently, that was    1   accurate -- with any accuracy. I -- I don't
  2    not pulled out of the same field that they did       2   think so statewide it was successful in terms of
  3    the caseworker blitz for.                            3   whether a county complied or they didn't comply
  4    BY MR. ALEXANDER:                                    4   with putting it in.
  5       Q. Okay. So is there a specific field             5         So I think it's a place now where if we
  6    within SACWIS over time that allows you to say       6   looked in that -- it's the person characteristics
  7    you have roughly a quarter to a third of your        7   field. And I think if we looked in the person
  8    clients that have some substance abuse issues?       8   characteristics field, we might get more accurate
  9       A. There are -- there are a variety of            9   data out of the person characteristics field.
 10    different fields. So what we've, I think, tried     10         But that is just one field in SACWIS
 11    to do is use something where we could get some      11   that I don't think you can go back and look at
 12    consistent comparison.                              12   that in terms of comparison and be as accurate,
 13           So I believe our comparison has been         13   where I think the case plan, the reunification
 14    related to the case plan. We've actually looked     14   case plan, is more accurate but, perhaps,
 15    at it a couple different ways. We've looked at      15   underrepresented.
 16    the case plan document that -- whether or not it    16      Q. Okay. Can you just -- I think we
 17    identified substance abuse as a reunification       17   haven't said what it is. Do you know what SACWIS
 18    factor, or in a general case plan whether           18   stands for?
 19    substance abuse was identified as a part of the     19      A. Statewide Automated Child Welfare
 20    service plan.                                       20   Information System.
 21       Q. And do you think that that supports           21      Q. And does your staff utilize that
 22    overall that there's been a trend of roughly a      22   database?
 23    quarter to a third of the clients have some sort    23      A. Yes, they do.
 24    of substance abuse factoring in to the reason why   24      Q. They put information into it and run
 25    they're interacting with Children's Services?       25   reports or ask that reports be run out of it,


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        Case: 1:17-md-02804-DAP Doc #: 1471-2 Filed: 03/25/19 5 of 5. PageID #: 42474
                                                                                                       99 (Pages 393 to 396)
                                                              Page 393
  1       moment?                                                                            Veritext Legal Solutions
                                                                                              1100 Superior Ave
  2             THE VIDEOGRAPHER: Going off the record                                          Suite 1820
                                                                                             Cleveland, Ohio 44114
  3       at 5:37 p.m.                                                                        Phone: 216-523-1313
  4             (Off the record.)
                                                                              December 6, 2018
  5             THE VIDEOGRAPHER: Back on the record at
  6       5:38 p.m.                                                           To: Jodi Westbrook Flowers, Esq.
  7             MS. FLOWERS: Plaintiffs have no                               Case Name: In Re: National Prescription Opiate Litigation
  8       questions for the witness.                                          Veritext Reference Number: 3133220
  9             Thank you very much, Ms. Barnes.
                                                                              Witness: Julie Barnes Deposition Date: 12/3/2018
 10             MS. NADEL: Thank you very much for your
 11       time.                                                               Dear Sir/Madam:
 12             THE WITNESS: Thank you all.                                   Enclosed please find a deposition transcript. Please have the witness
 13             THE VIDEOGRAPHER: Off the record at                           review the transcript and note any changes or corrections on the
 14       5:38 p.m.
                                                                              included errata sheet, indicating the page, line number, change, and
 15             (Signature not waived.)
 16                     ---                                                   the reason for the change. Have the witness’ signature notarized and
 17             (Thereupon, the video deposition                              forward the completed page(s) back to us at the Production address shown
 18              concluded at 5:37 p.m. on Monday,
                                                                              above, or email to production-midwest@veritext.com.
 19              December 3, 2018.)
 20                      ---                                                  If the errata is not returned within thirty days of your receipt of
                                                                              this letter, the reading and signing will be deemed waived.
 21
                                                                              Sincerely,
 22
 23                                                                           Production Department
 24                                                                           NO NOTARY REQUIRED IN CA
 25


                                                              Page 394
  1              CERTIFICATE                                              1             DEPOSITION REVIEW
  2                   ---                                                              CERTIFICATION OF WITNESS
  3   State of Ohio,           :                                          2
                         SS:                                                    ASSIGNMENT REFERENCE NO: 3133220
  4   County of Franklin, :                                               3     CASE NAME: In Re: National Prescription Opiate Litigation
  5                    ---                                                      DATE OF DEPOSITION: 12/3/2018
  6          I, Linda D. Riffle, Registered Diplomate                     4     WITNESS' NAME: Julie Barnes
      Reporter, Certified Realtime Reporter, Certified                    5        In accordance with the Rules of Civil
  7   Realtime Captioner, and Notary Public in and for                         Procedure, I have read the entire transcript of
      the State of Ohio, hereby certify that the                          6    my testimony or it has been read to me.
  8   foregoing is a true and accurate transcript of                      7        I have made no changes to the testimony
      the deposition testimony, taken under oath on the                        as transcribed by the court reporter.
  9   date hereinbefore set forth, of Julie Barnes.                       8
             I further certify that I am neither                               _______________         ________________________
 10   attorney or counsel for, nor related to or                          9    Date            Julie Barnes
      employed by any of the parties to the action in                    10        Sworn to and subscribed before me, a
 11   which the deposition was taken; and further that                         Notary Public in and for the State and County,
      I am not a relative or employee of any attorney
                                                                         11    the referenced witness did personally appear
 12   or counsel employed in this case, nor am I                               and acknowledge that:
                                                                         12
      financially interested in the action; and further
                                                                                   They have read the transcript;
 13   that I am not under a contract as defined in Ohio                  13        They signed the foregoing Sworn
      Civil Rule 28(D).
                                                                                   Statement; and
 14                                                                      14        Their execution of this Statement is of
 15
                                                                                   their free act and deed.
 16                ________________________                              15
                  Linda D. Riffle,                                                 I have affixed my name and official seal
 17               Registered Diplomate                                   16
                  Reporter, Certified                                          this ______ day of_____________________, 20____.
 18               Realtime Reporter,                                     17
                  Certified Realtime                                                   ___________________________________
 19               Captioner, and Notary                                  18            Notary Public
                  Public in and for the                                  19            ___________________________________
 20               State of Ohio                                                        Commission Expiration Date
 21   My Commission Expires: July 26, 2021                               20
 22                                                                      21
                    ---                                                  22
 23                                                                      23
 24                                                                      24
 25                                                                      25



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